C
Be @Ge
“ 9 © ©
2@€
4
«e ©
Misty Brode Dye Happy Birthday beautiful boy!
Like - Reply : 7h
Brittani Snoberger Happy Birthday Pretty Kitty! *
Like - Reply - 2h
Deb Presnell Happy Birthday Beautiful
Like - Reply - 5h
Stephen Goldsmith My boy. 19 already! Happy Birthday,
buddy!
Like - Reply - 6h
Cindi Schnibbe Linn Happy Birthday what a beautiful cat
Like - Reply : 7h
@ Top Fan
Karen Middleton Happy Birthday Diablo!!!!*.
Like - Reply : 7h
Dawn Flanagan Benson Happy Birthday beautiful.




                                                          Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 1 of 31
Like - Reply - 3h
Michele Grubbs Happy Birthday. | love bobcats
Like - Reply : 7h
Missy A Garner Crabtree Happy Birthday beautiful!
Like - Reply - 2h
Gloria Boatman Happy 19th Birthday Diablo \_/
Like - Reply : 7h
Brandy Kelly Happy birthday Diablo!
Like - Reply - 5h
Tammy Pheasant Happy Birthday!
Like - Reply - 6h
Loriann Brotemarkle Happy birthday
Like - Reply - 6h
@ Top Fan
Gladys Merritt HAPPY BIRTHDAY vg uy o
Like - Reply: 1h
Wendy Stanton Happy Birthday Diablo! May you have many
more!
Edward Kabina look! $2 4
Like - Reply - 3h
Tammie Blair Happy birthday!
*
Like · Reply · 4h
Suzie Breighner Mulligan Happy birthday Diablo
Like · Reply · 3h
Rebecca Northcraft Happy Birthday!!




                                                 Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 2 of 31
Like · Reply · 6h
Mindy Glenn HAPPY BIRTHDAY DIABLO!!
Like · Reply · 3h
Gail Mckenzie Beautiful
Like · Reply · 4h
Keisha McDonald Happy Birthday!!
Like · Reply · 5h
Will Godwin Happy Birthday Diablo




                                      Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 3 of 31
TENOR
Like · Reply · 5h
Anna Radcliffe
TENOR
Like · Reply · 4h
J.b. Bailey
Like · Reply · 3h
Chris Burkholder




                    Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 4 of 31
GIPHY
Like · Reply · 5h
Amy House-Lindeman
Like · Reply · 46m
Tammy Pullen Happy Birthday Diablo your a beauty




                                                   Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 5 of 31
Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 6 of 31
Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 7 of 31
Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 8 of 31
Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 9 of 31
Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 10 of 31
Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 11 of 31
Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 12 of 31
6/22/2018                                     (5) Tri-State Zoological Park & Animal Park, Care & Rescue 501c3 - Posts
Tri-State Zoological Park & Animal Park, Care & Rescue 501c3
June 19 at 11:40 AM ·
Good afternoon all,
This past Saturday Jill and I had to give up our adorable and loving Kinkajou, Keiko. He just can’t get over his jealousy of
our 8 month old baby girl Harper. He just became too much of a liability around the baby and we had to make the
heartbreaking decision to rehome him. We chose a rescue in Cumberland MD because we heard fantastic things about the
owner Bob and how well he treats his animals. We drove out there and built his cage in the current Kinkajou location. Keiko
is the 4th in this area and it is tight, not climate controlled and generally just not ideal. That being said he is with a great
person who takes excellent care of his animals, just does not have the recourses to upgrade the space. That’s why I am
writing this letter to all of you asking for help. I am linking the GoFundMe here...
https://www.gofundme.com/teamkeiko
Any help is enormously appreciated. Please share this with any animal lovers in your lives and help us create a nice
environment for these Kinkajous.
Sincerely,
Tony, Jill & Harper
GOFUNDME.COM
Click here to support Help Keiko Start a new life organized by Chad
Andrew Snyder-DeAngelis
Like                                 Comment                                         Share
https://www.facebook.com/TriStateZoologicalPark/posts/1743412015695955                                                             1/1




                                                                                                                                         Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 13 of 31
8/9/2018                                                                       Tri-State Zoological Park & Animal Park, Care & Rescue 501c3 - Posts
Like Reply 3d
Search                                                                                                                                              Zeynep        Home
Write a comment...
Like          Follow        Share                                                                   Send Message
Tri-State Zoological Park & Animal Park, Care & Rescue
501c3 is with Hunter Goldsmith.
August 7 at 5:37 PM ·                                                        Page Story
A few pics from National Night out.             (I didn't get one of Buttercup
)
Search for posts onTri-State
this PageZoological Park & Animal
Park, Care & Rescue 501c3
Like This Page · August 7 ·
English (US) · Español · Português (Brasil) ·
Français (France) · Deutsch
Tri-State Zoological
Privacy · Terms · Advertising · Ad Choices    ·
Park & Animal Park,                                                                                               Cookies · More
Facebook © 2018
Care & Rescue




                                                                                                                                                                                       Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 14 of 31
501c3                                                                                                                                    Like           Comment          Share
@TriStateZoologicalPark
Write a comment...
Home
About
Photos
Events
Videos
Posts
Shop
Community
Info and Ads
Create a Page                     11
Like                   Comment                  Share                                   People You May Know                             See All
Christina Bicknell
Write a comment...                                                                                     35 mutual friends
Add Friend
Tri-State Zoological Park & Animal Park, Care & Rescue
501c3 shared a post.
August 2 at 11:52 AM ·
Chat (Off)
https://www.facebook.com/TriStateZoologicalPark/photos/pcb.1819771058060050/1819770924726730/?type=3&theater                                                                     1/1
12/14/2020                                 Tri-State Zoological Park & Animal Park, Care & Rescue 501c3 - Posts | Facebook
142                                             15 Comments 11 Shares
Like                        Comment                           Share
All Comments
Write a comment…
Press Enter to post.
Author
Tri-State Zoological Park & Animal Park, Care & Rescue 501c3
3
Like · Reply · 1d
Tammy Johnson
Wow what a beautiful              bear
Like · Reply · 15h
Linda Gilbert
Gorgeous!                 1
Like · Reply · 1d
Alana Broadwater
Beautiful         peepers!!
1
Like · Reply · 22h
Kim A Brown




                                                                                                                                   Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 15 of 31
Adorable              1
0
Like · Reply · 23h
https://www.facebook.com/TriStateZoologicalPark/posts/3616421428394995                                                       2/7
12/14/2020                                 Tri-State Zoological Park & Animal Park, Care & Rescue 501c3 - Posts | Facebook
Carol Winebrenner
Beautiful
1
Like · Reply · 1d
Gladys Merritt
Adorable               1
Like · Reply · 1d
Sherry Claycomb
Hi ladies I miss you!!
1
Like · Reply · 20h
Janet Dishong Steve Householder
Are they at the zoo now?
Like · Reply · 43m
Diane Hendrickson
Never heard of such a thing, where did you get that
from?
1
Like · Reply · 20h
Author




                                                                                                                                   Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 16 of 31
Tri-State Zoological Park & Animal Park, Care & Rescue
501c3
Diane Hendrickson from the Natural Bridge zoo in
VA
Like · Reply · 18h
Author
Tri-State Zoological Park & Animal Park, Care & Rescue
501c3
Tri-State Zoological Park & Animal Park, Care &
Rescue 501c3 these bears were not born in the
wild. They are from another zoo that had surplus &
they needed homes. They are healthy & happy.
1
Like · Reply · 4h
Write a reply…
Press Enter to post.
Brenda Patton
They have a head of hair like a Lion. WOW
Like · Reply · 17h
Write a comment…
0
https://www.facebook.com/TriStateZoologicalPark/posts/3616421428394995                                                       3/7
8/9/2018                                                                  Tri-State Zoological Park & Animal Park, Care & Rescue 501c3 - Posts
p                           g                 (          g                   p
)
Search                                                                                                                     Zeynep       Home
Like          Follow          Share                                                                          Send Message
Tri-State Zoological Park & Animal
Park, Care & Rescue 501c3
Like This Page · August 7 ·
Page Story
Search for posts on this Page
English (US) · Español · Português (Brasil) ·
Français (France)
Like                 · Deutsch
Comment               Share
Tri-State Zoological
Privacy · Terms · Advertising · Ad Choices      ·
Park & Animal Park,                                                                                                                    Write a comment...
Cookies · More
Facebook © 2018
Care & Rescue
501c3




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@TriStateZoologicalPark
Home
About
Photos
Events
Videos
11
Posts
Like                      Comment                      Share
Shop
Community                                         Write a comment...
People You May Know                                      See All
Info and Ads
Christina Cho
Tri-State Zoological Park & Animal Park, Care & Rescue                                     48 mutual friends
Create a Page                                                                                                                                Add Friend
501c3 shared a post.
August 2 at 11:52 AM ·
Chat (Off)
https://www.facebook.com/TriStateZoologicalPark/photos/pcb.1819771058060050/1819770984726724/?type=3&theater                                                1/1
Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 18 of 31
Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 19 of 31
Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 20 of 31
Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 21 of 31
Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 22 of 31
Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 23 of 31
Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 24 of 31
Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 25 of 31
Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 26 of 31
Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 27 of 31
Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 28 of 31
Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 29 of 31
Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 30 of 31
Case 1:20-cv-01225-PX Document 71-42 Filed 12/20/21 Page 31 of 31
